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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                  )
 UNITED STATES OF AMERICA                         )
                                                  )
                    v.                            )       Criminal No. 17-201 (ABJ)
                                                  )
 PAUL J. MANAFORT, JR.,                           )
                                                  )
                         Defendant.               )
                                                  )

          PAUL J. MANAFORT, JR.’S UNOPPOSED MOTION FOR AN
     EXTENSION OF TIME TO FILE HIS REPLY TO THE SPECIAL COUNSEL’S
        DECLARATION IN SUPPORT OF ITS BREACH DETERMINATION

       Defendant Paul J. Manafort, Jr., by and through counsel, moves this Court for an extension

of time to file a reply to the Special Counsel’s Declaration in Support of Its Breach Determination.

The Court previously set a briefing schedule and defendant’s reply is currently due on January 18,

2019. For the reasons stated below, defendant asks the Court for an extension to January 23, 2019.

       On January 14, 2019, the Office of Special Counsel (“OSC”) filed a declaration in support

of its breach determination. The declaration is 31-pages long and has more than 800 pages of

exhibits. Defense counsel are seeking an extension in order to have sufficient time to review the

lengthy filing and to confer about it and any proposed reply with Mr. Manafort prior to filing. The

Court has set a hearing, should it be necessary, for January 25, 2019. Defendant recognizes that

the requested extension leaves a very short time between the filing date and the planned hearing

date. While defendant continues to believe the Court can resolve the issues presented without a

hearing, defendant also understands the requested extension may necessitate a delay in the hearing

if the Court determines a hearing is necessary.
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       Defense counsel has conferred with the OSC about the requested extension. The OSC has

stated it consents to defendant’s request and does not oppose this motion.

       WHEREFORE, Mr. Manafort requests that the Court extend the time for filing his reply

to the OSC’s Declaration in Support of its Breach Determination to January 23, 2019.



Dated: January 16, 2018                             Respectfully submitted,

                                                     /s/
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                )
 UNITED STATES OF AMERICA                       )
                                                )
                   v.                           )       Criminal No. 17-201 (ABJ)
                                                )
 PAUL J. MANAFORT, JR.,                         )
                                                )
                        Defendant.              )
                                                )


                                      [Proposed] ORDER
       Upon consideration of Defendant Paul J. Manafort, Jr.’s Unopposed Motion for an

Extension of Time to File his Reply to the Special Counsel’s Declaration in Support of Its

Breach Determination, it is hereby ORDERED that the motion is GRANTED and that the

defendant’s reply is due on January 23, 2019.

       SO ORDERED.



Dated: ____________________                                 __________________________
                                                            AMY BERMAN JACKSON
                                                            United States District Judge
